             Case 6:21-cv-00474-AA            Document 50-4            Filed 08/06/21     Page 1 of 17




                      A Baptist College of Arts and Sciences


                                                                              CEDARVILLE,          OHIO   45314
 June 4, 1976




 Martin H. Gerry
 Acting Director
 Office for Civil Rights
 Department   of Health, Education                   and Welfare
 330 Independence   Ave., S. W.
 Washington,   D. C. 20201

 Re:    86. 12 (a), (b) of Final           Title    IX Implementing         Regulations

 Dear Mr.        Gerry:

'· On behalf of the Administration     and Board of Trustees   of Cedarville   College, we
  ' respectfully submit the accompanying     claim for exemptions    as provided under
    Section 86. 12 (a) and (b) of the Final Title IX Implementing   Regulations.

 We believe it would be beneficial to your understanding   of our position if we were
 to give you some specific information  about our college.   Therefore,   we present
 the following for your consideration;

        I. A Description         of Cedarville           College   -

              Cedarville   College is a Baptist college of arts and sciences   presenting
              a balanced liberal arts program coupled with an evangelical,      conserva-
              tive theological   position in regard to doctrine and patterns of conduct.

       II.    The Bible    as our Basis            for Faith   and Practice       -

              Cedarville    College was founded upon and continues to present a
              curriculum    based upon a doctrinal position that the Bible is our
              sole basis   for faith and practice.




 EXHIBIT D                                                                                                1
          Case 6:21-cv-00474-AA         Document 50-4      Filed 08/06/21         Page 2 of 17




Martin H. Gerry
Page 2


   III.   Approval     by the General    Association     of Regular       Baptist    Churches      -

          Cedarville  College is subject to ann.ual approval by the General
          Association   of Regular Baptist Churches (GARBC) to assure the
          continuity of the educational  program in conformity  with the Scriptural
          position of the majority of the GARBC.

Cedarville  College wholeheartedly    supports the principle of cooperation    with govern-
mental authority as admonished by the Bible (Romans 13). However.            we also firmly
believe that we have the right to take exception to governmental      actions which would
interfere  with faith and practice that is based on Biblical teaching.

We present    the following claims for exemption            from      certain     requirements         of the
Final Title   IX Implementing    Regulations:

     86. 21 (c) (1) (2) (4) Admissions        -

                 These subparts    (1) prevent     a recipient  institution    from applying
                                                                                                                  :
                 any rule concerning     the actual or potential parental,         family. or
                 marital  status of an applicant which treats persons differently
                 on the basis of sex; (2) prohibit an institution          from discriminating
                 against or excluding any person on the basis of pregnancy.                child-
                 birth, terminatim     of pregnancy.      or recovery     therefrom.     and (3)
                 prevents a recipient     institution   from making pre-admission
                 inquiry as to the marital status of an af-plicant.

                 College Policy - Cedarville  College                does exclude      from its program
                 unmarried.   pregnant women.

                     Rationale - In order to maintain the distinctive     character of the
                     College as a Christian  institution  with Biblical moral standards.
                     Cedarville  College must reserve    the right to exclude from its
                     programs.   male or female applicants     who violate the moral
                     standards  contained in the Bible.

                     Scripture   References   - ICor.     5; ICor.     6:15-20;     IThess.      4:3-7.

     86. 31 (b) (5) Educational  Programs       and Activities           - A recipient shall not, on
                                    11
                 the basis of sex,     discriminate   against           any person in the application
                 of any rules of appearance."

                     College Policy - Cedarville        College      does maintain      a policy       limiting
                     the length of men 1 s hair.




 EXHIBIT D                                                                                                2
     Case 6:21-cv-00474-AA        Document 50-4         Filed 08/06/21         Page 3 of 17



Martin H. Gerry
Page 3


                Rationale - Tile policy reflects   a sensitivity    to the relationship
                of Cedarville  College to its constituency     and the institution's
                responsibility  to those whom we serve,       together with the School's
                desire to maintain a testimony    to our churches      and to society.

                Scripture    Reference      - I Cor.     10:32

                It is the institution's     intent and practice  to maintain the Biblical
                identity of the sexes       while upholding their equality of person.

                Scripture    References      - I Cor.     11:14.     15.

    86. 40 (a) (b) (1) (4) (5) Marital     or Parental      Status    -

               These subparts      (1) prevent a recipient         institution     from applying any
               rule concerning      a student's     actual or potential parental,              family,
               or marital   status which treats students differently                 on the basis of
               sex; (2) prohibit an institution        from discriminating            against,     or
               excluding any student from its education program                    or activity on the
               basis of such student's       pregnancy,       childbirth,     false pregnancy,
               termination    of pregnancy,       or recovery      therefrom;        (3) require that
               a recipient  institution    treat pregnancy,         fErmination of pregnancy
               and recovery     therefrom      as any other temporary            disability;     and
               (4) require that a recipient        institution    shall treat pregnancy,            child-
               birth, false pregnancy,       1er-mination of pregnancy           and recovery         there-
               from as a justificationnr         a leave of absence,         at the conclusion          of
               which the student shall be reinstated            to the status which she held
               when the leave began.

                C0llege Policy - Cedarville      College does exclude from its educational
                program    and activities,  unmarried     women students experiencing
                pregnancy,    childbirth,  or termination   of pregnancy.

                Rationale - In order to maintain the distinctive    character    of the
                College as a Christian  institution  with Biblical moral standards,
                Cedarville  College must reserve    the right to suspend from its pro-
                gram and activities,   male or female students who violate institutim al
                standards  that have as their basis the moral standards       contained in
                the Bible.

                Scripture    References      - I Cor.     5; I Cor.        6:15-20;   I Thess.   4:3-7.




EXHIBIT D                                                                                          3
                   Case 6:21-cv-00474-AA          Document 50-4                       Filed 08/06/21       Page 4 of 17



      Martin H. Gerry
      Page 4


                86. 57 (a) (1).   (b). (c) Marital            or Parental               Status    -

                            These subparts provide that a recipient               institution   shall not apply
                            any policy or take any employment              action concerning        the potential
                            marital.   parental.    or family status of ~n employee or applicant
                            for employment       which treats persons differently             on the basis of
                            sex. A recipient      shall not discriminate          against or exclude from
                            employment     any employee or applicant for employment                     on the
                            basis of pregnancy,       childbirth,     false pregnancy.        termination
                            of pregnancy,     or recovery      therefrom,       and the recipient        shall treat
                            pregnancy,    childbirth.     false pregnancy,         termination     of pregnancy,
                            and recovery    therefrom       and any other temporary            disability    resulting
                            therefrom    as any other temporary           disability     for all job related pur-
                            poses.

                            College Policy - Cedarville  College does exclude unmarried   pregnant
                            women applying for employment     and also excludes from employment
                            male or female employees    who violate the moral standards contained
                            in the Bible.                                                                                            :

                            Rationale - In order to maintain the distinctive     character  of the
                            College as a Christian   institution with Biblical moral standards,
                            Cedarville  College must reserve     the right to exclude unmarried
                            pregnant women applying for employment         and to also exclude from
                            employment    male or female employees      who violate the moral standards
                            contained  in the Bible.

                            Scripture       References             - I Cor.           5: I Cor.       6:15-20;   I Thess.   4:3-7.

      The above exemption statements         have been reviewed and approved by the Cedarville
      College administrationa:id   the Board of Trustees.         While it is the intent of Cedarville
      College to <X>ntinue to provide equal opportunity       to members       of both sexes in com-
      pliance with the provisions    of Title IX regulations,      continuation    of policies relating
      to the above exemption statements        are considered    essential    to the purpose and pro-
      grams of the institution.

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                    ,     George ~ngelmann
                   &hairman,   Bocfud of Trustees




      EXHIBIT D                                                                                                               4
      Case 6:21-cv-00474-AA       Document 50-4                Filed 08/06/21   Page 5 of 17




Dr. Paul H. Dixon
President
Cedarville College
Box 601
Cedarville, Ohio 45314
Dear President Dixon:

The Office for Civil Rights of the Department of Education (OCR/ED)is in
the process of resolving a number of pending requests for religious exemption
from Title IX of the Education Amendmentsof 1972. Our records indicate that
Cedarville College filed such a request, but there is no record that OCR
adequately acknowledged this request.
We have recently reviewed the request filed by former President Jeremiah
 (copy enclosed) in which he described several policies practiced at Cedar-
ville College as consistent with the tenets of the religious organization
that controls the College. These policies would violate certain sections
of the regulation•implementing Title IX (copy enclosed) absent a religious
exemption. The former president supplied information in his request letter
that establishes that Cedarville College is controlled by a religious
organization and that tenets followed by this organization conflict with
specific sections of the Title IX regulation.    Therefore, I am granting
Cedarville College an exemption to those sections of the Title IX regulation
specified in the request letter.    The exemption is limited to the extent
that compliance with the Title IX regulation conflicts with the religious
tenets followed by Cedarville College. Cedarville College is hereby exempted
from the requirements of the following sections of the Title IX regulation:
34 C.F.R. § 106.2l(c)(l),   (2) and (4); § 106.40(a), (b)(l), (4) and (5);
and§ 106.57(a)(l),    (b) and (c). The basis for our decision to grant this
exemption is discussed in further detail below.
The request letter indicates that Cedarville College is a Baptist college
that "was founded upon and continues to present a curriculum based upon a
doctrinal position that the Bible is our sole basis for faith and prac-
tice ••••      Cedarville College is subject to annual approval by the
General Association of Regular Baptist Churches (GARBC)to assure the
continuity of the educational program in conformity with the Scriptural
position of the majority of the GARBC.  11
                                           This relationship bet\-1eenthe
GARBC  and Cedarville College adequately establishes that the College is
controlled by a religious organization as is required for consideration
for exemption under§ 106.12 of the Title IX regulation.




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EXHIBIT D                                                                                      5
        Case 6:21-cv-00474-AA     Document 50-4       Filed 08/06/21   Page 6 of 17

Page 2 - Dr. ?aul H. Dixon

The request letter indicates that students and employees at Cedarville
College must adhere to tenets of the Baptist Church relative to a prohibition
of pregnancy, childbirth or termination of pregnancy t,Jat occurs out of
wedlock. Based on this principle, Cedarville College has requested, and
is granted by this letter exemption to§ 106.21(c)(l),   (2) and (4) (marital
or parental status of applicants for admission);§ 106.40(a) and (b)(l),
(4) and (5) {marital or parental status of students); and§ 106.57{a){l),
(b), and (c) (marital or parental status of employees and applicants for
employment).

Cedarville College also requested exemption for§ 106.3l(b){5) concerning
rules of appearance. Section 106.31(b){5) was formally revoked and deleted
from the Title IX regulation.   Therefore, an exemption for appearance codes
is not necessary.
This letter should not be construed to grant exemption from any section of
the Title IX regulation not specifically mentioned. In the event that OCR
receives a complaint against your institution,       we are obligated to determine
initially    whether the allegations fall within the exemption herein granted.
Also, in the unlikely event that a complainant alleges that the practices
followed by the institution     are not based on the religious tenets of the
controlling organization, OCRis obligated to contact the controlling
organization to verify those tenets.        If the organization provides an
interpretation    of tenets that has a different practical impact than that
described by the institution,      or if the organization denies that it controls
the institution,    this exemption will be rescinded.
I hope this letter responds fully to your request.   I regret the inordinate
delay in responding to your original request.   If you have any questions,
please do not hesitate to contact the Chicago Regional Office for Civil Rights.
The address is:
                   Linda A. McGovern
                   Acting Regional Civil Rights Director
                   Office for Civil Rights, Region V
                   Department of Education
                   300 South Wacker Drive, 8th Floor
                   Chicago, Illinois  60606
                                         Sincerely,


                                             !
                                         Har~ M. S ngleton
                                         Assistant Secretary
                                           for Civil Rights

Enclosures
cc:   Linda A. McGovern, Acting Regional Civil Rights Director,        Region V




  EXHIBIT D                                                                           6
                     Case 6:21-cv-00474-AA         Document 50-4           Filed 08/06/21      Page 7 of 17



                                         CEDARVILLE
                                          COLLEGE
June    26,        1989

Assistant      Secretary    for Civil   Rights
United    States     Department    of Education
400 Maryland       Avenue,    S.W.
Washington,      DC 20202

       RE:     Title      IX Religious        Exemption

Dear    Sir:

      The        Cedarville        College      hereby      claims        an    exemption       from      the
requirements        of Title      IX of the Education       Amendments of 1972 ("Title               IX")
as    herein       specified,       pursuant      to Sections     90l(a)(3)      and 908 of Title           IX
and     34 C.F.R.         Section   106.12(b).      The College     believes       that   it may in the
past     have      received,       and may currently       be receiving,        indirect     federal     aid
within       its     understanding        of   the    Supreme    Court       decision     in Grove City
College      v. Bell,       465 U.S. 555 (1984).

      The      Cedarville         College       is     a regionally             accredited        liberal       arts
col lE!'ge,    of fer ing       courses      of     instruct     ion      in    the    humanities,        arts   and
sciences.          The       College      is    subject        to    annual        approval     by the General
Association        of      Regular      Baptist        Churches         (GARBC), 1300 N. Meacham Road,
Schaumburg,         Illinois        60195,      a non-profit          religious       corporation       which was
incorporated          under      the laws of the State              of Illinois         under the control          of
a board        of trustees         (The Council        of Eighteen),          and is exempt from federal
income      taxation         as    a not-for-profit          organization          under Section         501(c)(3)
of the Internal          Revenue Code.

      The Cedarville                College       was    incorporated            in      the State       of Ohio as a
Christian         institution            of higher      education       under the control               of a board of
trustees          and        is      also        exempt     from       federal         income        taxation        as    a
not-for-profit             institution           under     Section        (c)(3)      of the Internal             Revenue
Code.         The trustees         of the College         and the faculty,              students        and employees
of     the     College         are     all     required       to     espouse         a personal         belief      in the
religious         tenets        of     the Christian        faith.        The Charter           of the College          and
the      catalogs        and      other      official       publications             of      the     College      contain
explicit        statements           that    the College        is committed          to the doctrines              of the
Christian         religion.             The      College      maintains          its       religious         tradition,
standards         and      beliefs         in accordance        with the requirements                  of the General
Association         of Regular         Baptist      Churches      aforementioned.

     The College         educates         in the broad range of liberal            arts,                  in which it
adheres        to Biblical       tenets      for matters       of faith    and practice,                     following
its     religious     tradition.          It specifically        utilizes   a religious                    preference
in    employment      practices         to   assure       that     faculty    and staff                   adhere    to a
common religious           understanding         of     the    religious     beliefs,                     values      and

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                                                                      highereducation

       CEDARVILLE           COLLEGE           BOX 601 CEDARVILLE,                       OHIO   45314   513/766-2211
         EXHIBIT D                                                                                                  7
                     Case 6:21-cv-00474-AA            Document 50-4        Filed 08/06/21         Page 8 of 17




Page 2 of 4
Assistant Secretary               for    Civil        Rights
June 26, 1989


purposes         that      guide      the educational           mission      of the college.             Accordingly,
the personnel          of the college          accept     religious        standards        in matters       of
moral      behavior,          dispute      and grievance         resolution        and disciplinary            matters,
as    well       as     in    the     performance         of any religious             role    or office       in which
gender       distinctions           may be        required.         The Bible        sets     forth    the standards
for      Christian         morality      and practice         in far too many places                and forms      to be
identified         comprehensively           in this    letter;       however,       see for example:

       1.      Romans 12:1            " ... present    your        bodies  a living           and holy   sacrifice,
               acceptable           to God,       which is         your spiritual            service   of worship."
                (NAS)

       2.      Romans      6:13     "And do not go on presenting          the members                             of your body
               to    sin    as    instruments     of unrighteousness;        but present                            yourselves
               to    God as       those     alive    from    the    dead,    and   your                            members     as
               instruments      of righteousness        to God."      (NAS)

       3.      Cedarville         College              Doctrinal        Statement         11:           "We believe       in
               personal       separation               from      all    practices         and       influences      of the
               world      which     hinder             a spirit-filled             life."           Cedarville    College
               Doctrinal         Statement,                page        174,       Cedarville           College    Catalog
               1987-1988.

       4.      _T....,h,....e_-,--_c_,,e_d_a_r_v_i_,l,....l_e=--
                                             __ c_o_l_l=-e-=---g-e
                                                            __ S_t_u_,,d_e_n_t
                                                                          ___ H_a_n_d_b_o_o_k. "_I_V_,,...c.,....o_m....,m_u_n
                                                                                                                    _t..._y
               Discipline          ..• [T]he     College         believes     that    redemptive    discipline
               should        be:

               I.       A     meaningful         learning               experience           and      should            encourage
                        responsible      behavior;

               II.      Based     on       a       Scriptural       balance          of    love       and         justice           and
                        educational            principles;

               II I.    Cons is tent      with   the     best  · interest                   of     both     the        individual
                        and     the     total    College      community                   in      mind."               Cedarville
                        College     Student    Handbook     at p. 23.

       The     College          seeks       to     maintain        its     religious         freedom       to make certain
gender-based             distinctions            in     matters        of      moral       behavior,          marriage        and
residential            living         environments          and      standards.                It     specifically         holds
religious         standards             for personnel         and students            in matters         conducive       to the
fostering         of       proper      moral behavior           and the discouragement                   of inappropriate
behavior        as       understood          by     the religious            tradition         and tenets         accepted     by
the     College.             Such standards           include      matters        relating        to the expression            of
human       sexuality,            living       environments,             respect         for      the      institution          of
marriage,       language          and modest        attire.




            EXHIBIT D                                                                                                        8
                  Case 6:21-cv-00474-AA            Document 50-4       Filed 08/06/21      Page 9 of 17



Page 3 o~ 4
Assistant Secretary              for    Civil      Rights
June 26, 1989

     The College      adjudicates   matters    of                       moral     behavior,          including    the
misuse   of    human   sexuality,   in accordance                        with    Scriptural        teaching    about
moral behavior.      See, for example:

       I.      I Corinthians           5.
       II.     I Corinthians           6:15-20.
       III.    I Thessalonians            4:3-7.

      In     it's       letter        of    June     4, 1976 to the Department              of Education,        the
College        claimed         religious         exemption       from     certain       of the provisions         of
Title      IX which            have      since been renumbered.              In it's     letter     of September
13,     1985      the       Department         granted      such     claim.---nowever,          in light     of the·
passage        of     the      Civil       Rights      Restoration        Act of 1987 and the college's
current        understanding             of    the    provisions      of Title        IX and the regulations
thereunder          that       are     applicable        to the College,          this   exemption      notice     is
being      submitted           at    this    time in order         to clarify      and extend       the scope of
the     exemption          previously          received       from     the     Department        and   presently
claimed     by the College.

       Accordingly,            the    College    hereby      claims      exemption        from the application
of     the      following         provisions        of    the Title       IX regulations,            to the extent
that,.    they       conflict        with the College's           religious        tenets     and traditions        as
described          above:          C.F.R.      Sections        106.2l(c),         106.40,      106.57 and 106.60
(treatment           based      on marital          and     parental        status),         together       with any
application             of     Sections      106.38       (employment          assistance          to    students);
Section           106.51         (employment          opportunities           for     religious        offices      or
positions          such      as    chaplains        limited     by religious          tenets     to one gender);
106.53        (recruitment);            106.55    (job classification              and structure)         or 106.59
(advertising)            that      relates      to     such     employment           opportunities          that are
limited      to one gender by the religious                   beliefs       of the College.

      The      religious          tenets      relevant        to     marital       and    parental       status      are
biblically           derived.            In order     to live within           commonly received           Christian
meanings         of human relationships               and provide         a moral and biblical             ethos     for
the      college        community,        moral standards          are maintained         consistent        with the
precepts         of the Bible and the religious                    custom and practice            that     interpret
its      moral       standards.            Where      such      willful        conduct     expressly         violates
biblical         norms (e.g.         cohabitation,         promiscuous         conduct    outside       of wedlock,
homosexual           behavior,       or divorce,        [see,    e.g.,      I Cor. 6:12-20;        Gal. 5:19-21;
Romans        1:24-27;         I Cor.       7:10,11))         the      college      reserves        its      right     to
exercise         its      discretion        for     the remedy appropriate              to the circumstances
consistent         with its religious            beliefs      and practices.

      There      are     a number       of   issues       central     to the religious       beliefs      and
practices        of    the    College    that may not have been discussed                 in this    letter
because      of     our understanding        that no specific          exemption      is required.        For
example,       the     College     believes       that      Title     IX,    as amended by the Civil
Rights      Restoration        Act    of    1987,      shall      not be construed        to require      the
College      to provide       or pay for any benefit             or service,     including     the use of




         EXHIBIT D                                                                                                9
                 Case 6:21-cv-00474-AA           Document 50-4         Filed 08/06/21      Page 10 of 17




Page 4 of 4
Assistant Secretary              for   Civil     Rights
June 26, 1989

facilities,          related       to    an abortion.     Addi.ti.anally,       pursuant     to 34 C.F.R.
Section       106.lS(d),         the     provisions    of    Sections        106.16      through      106.23,
inclusive,         do not apply to the College            because      it is a private         institution
of     undergraduate          higher     education.    Finally,      the College       understands         that
Sections       106.32        and     106.33     permit  the     College       to    provide       separate,
although       substantially           comparable,     housing,        bathroom,       locker       room and
similar     facilities        for men and women.
       The College              generally        opposes       gender-based         discrimination        and affirms
its        intention          to    comply        with       the     provi.si.ons        of    Title     IX and       the
regulations            thereunder           except       to     the      extent     that    such compliance        would
cause        the      College        to     violate        its religious          tenets      and traditions.         The
College          specifically            claims       its right        to exercise        a religious      preference
in     its       employment         decisions,          pursuant       to Section        702 of Title      VII of the
Civil        Rights       Act      of      1964     and      the     decision         of    the     Supreme Court       in
Corporation            of     the      Presiding        Bi.shop v. Amos, 107 S. Ct. 2862 (1987).                        In
seeking          to    provide         equal employment            opportunities          for men and women, the
College          shall      not     under        any     circumstances            waive       or be deemed to have
waived         its     primary         requirement           of    hiring       only persons         whose religious
beliefs          and     practice       are consistent            with the Christian             tenets,   principles
and traditions            accepted        by the College           and the Corporation.
       In    the     event      of      future       amendments        to    Title   IX or the regulations
thereunder,          or changes         in the application           thereof      or the facts      surrounding
the       operation        of     the      College        and    the    burden      of    such    statute       and
regulations          on the College's              ability     to pursue       its religious      mission,      the
College        reserves       its       right      to claim an amendment to its exemption                    or an
additional          exemption         in     order      to    fully      protect      the religious       tenets,
practices        and traditions           of the College.

     Thank         you    for     your     assistance        and for your prompt consideration            of
this       letter.             If   you have          any    questions    or   require      any   further
information,            please         contact        Donald       W. Rickard,     Vice-President         of
Cedarville         College     for Student        Services    at (513) 766-2211      extension    220.

                                                      Very    truly     yours,



                                                      Dr. Paul        H. Dixon,
                                                      President




         EXHIBIT D                                                                                               10
       Case 6:21-cv-00474-AA         Document 50-4          Filed 08/06/21       Page 11 of 17
                    UNITED ST ATES DEPARTMENT               OF £DUCA TION
                  OFFICE   OF TH==: ASSISTANT   SECRETARY     FOR CIVIL RIGHTS




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Dr. Paul H. Dixon
President
Cedarville College
Box 601
Cedarville, Ohio 45314
Dear Dr. Dixon:
The Office for Civil Rights (OCR}of the Department of Education has completed
its review of your letter, dated June 26, 1989, requesting a religious exemption
from certain sections of the regulation implementing Title IX of the Education
Amendmentsof 1972. By letter dated September 13, 1985, Cedarville College
(College} was exempted from the following sections of the Title IX regulation:
34 C.F.R. §§ 106.2l(c)(l), (2) and (4); 106.40(a), (b)(l), (4) and (5); and
106.57(a)(l), (b) and (c).
In your request letter of June 26, 1989, you provided infonnation that establishes
that the College is controlled by a religious organization and that tenets of
this organization conflict with specific sections of the Title IX regulation
(copy enclosed). You described in your request letter certain policies practiced
at the College as being consistent with the tenets of the religious organization
that controls the institution.   These policies would violate certain sections of
the regulation implementing Title IX absent a religious exemption. Therefore, I
am granting the College an exemption to those sections of the Title IX regulation
specified in your most recent request letter.   Cedarville College is hereby
exempted from the requirements of the following sections of the Title IX regula-
tion: 34 C.F.R. §§ 106.21(c), 106.38, 106.40, 106.51, 106.53, 106.55, 106.57,
106.59, and 106.60. The exemption is·limited to the extent that compliance with
the Title IX regulation conflicts with the religious tenets followed by the
College. The basis for this decision is discussed in further detail below.
Your request letter indicates that the College is a Baptist College subject to
annual approval by the General Association of Regular Baptist Churches (GARBC).
The trustees of the College and the faculty, students and employees of the College
are all required to espouse a personal belief in the religious tenets of the
Christian faith. The Charter of the College and the catalogs and other official
publications of the College contain explicit statements that the College is
committed to the doctrines of the Christian religion.   The College maintains its
religious traditions, standards, and beliefs in accordance with the requirements
of the GARBC.This. relationship between the GARBC   and the College adequately
establishes that the College is controlled by a religious organization as is
required for consideration for exemption under 34 C.F.R. § 106.12 of the
Title IX regulation.




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  EXHIBIT D                                                                                      11
        Case 6:21-cv-00474-AA   Document 50-4    Filed 08/06/21   Page 12 of 17

Page 3 - Dr. Paul H. Dixon
I hope this letter responds fully to your request. If you have any questions,
please do not hesitate to contact the Chicago Regional Office for Civil Rights.
The address is:
                          Mr. Kenneth A. Mines
                          Regional Civil Rights Director
                          Office for Civil Rights, Region V
                          U.S. Department of Education
                          401 South State Street, Room700C, 05-4010
                          Chicago, Illinois  60605-1202.
                                          Sincerely,

                                         ~
                                         William L. Smith
                                          Acting Assistant Secretary
                                            for Civil Rights
Enclosure
                                                          -
cc:   Kenneth A. Mines, Regional Civil Rights Director,   Region V




  EXHIBIT D                                                                       12
      Case 6:21-cv-00474-AA                Document 50-4            Filed 08/06/21         Page 13 of 17


                          UNITED STATESDEPARTMENT OF EDUCATION
                                             OFFICE FOR CIVIL RICI ITS
                                                                                       THE ASSISTANT SECRETARY




June I I. 20 I 8

Thomas While. Ph.D.
President
Cedarville University
251 North Main tree!
Cedarville. Ohio 45314

 Dear President White:

I write in response to your March 13, 2018, letter to the U.S. Department of Education's Onice
for Civil Rights (OCR). In your letter, you indicate that Cedarville University (University) of
Cedarville, Ohio is entitled to a religious exemption from Title IX of the Educational
Amendments of 1972 (Tille IX). 20 U.S.C. § 1681.

Tith.: IX prohibits discrimination on the basis of sex in any education program or acllvlly
operated by a recipient or Federal financial assistance. Title IX and its implementing regulation
at 34 C.F.R. § I 06.12 provide that Title IX docs not apply to an cducational institution that is
controlled by a religious organization, to the extent that the application of Title lX would be
inconsistent with Lhe controlling organization's religious tenets. Therefore. such educational
institutions may request an exemption from Title IX by identifying the provisions of Title IX that
conflict with a speciftc tenet of the religious organization. The request must identify the
religious organization that controls the educational institution. specify the tenets of that
organization, and state the provisions of the law or regulation that conflict with those tenets. /\n
institution may be considered controlled by a religious organization if il is a school or
dcpartmcrll of divinity.

 Your letter slates that the University "was established in 1887 as an institute for Christian higher
 education." and that it was "lolriginally afliliatcd with the Reformed Presbyterian Church.'' but
 subsequently ·'became a Baptist college of arts and sciences by mutual agreement of the
 Reformed Presbyterian Church and the Baptist Bible Institute of Cleveland. Ohio.'· You stale
 that the University is ··operating in accordance with Baptist doctrines or faith_,. For instance, it
 requires a ··five-class Bible minor" for all undergraduate students, and "also offers graduate
 degrees, including ministry degrees (M.Min. and M.Div.). all of which require some
 demonstration or biblical proficiency." Further, "[iJn order to allcnd Cedarville, all students
 must make a written profession or faith in Jesus Christ ... fandJ attend worship services five
 days per week in which the Bible is taught and religious songs are sung together.'' The
 University is governed by a Board of Trustees. and "le]ach member of the Board or Trustees
 must annually subscribe to the University's doctrinal statement and standards or conduct:·

                              400 MARYLAND AVE. S.W., WASHINGTON, DC 20202-1100
                                                      w,vw.ed.gov
  The Department of Education's mission is to promote student achievement and prep,1ration for glob,1/ competitivenes:;;
EXHIBIT D                   by fostering educational c.'-.:cellence
                                                                  and cnsurirw equal access.                         13
      Case 6:21-cv-00474-AA         Document 50-4       Filed 08/06/21     Page 14 of 17
Thomas While-      page 2


f-urther. your teller slates lhal the University "is commilled lo lhe biblical principle that all
human beings arc created in the image o[ God. a principle that promotes respect for the bodily
integrity of all persons nnd the sacredness of human sexuality." Your letter indicate::;,without
expressly staling, a position lhat portions or Title IX and its accompanying regulations conflict
with the University·s religious tenets. On that basis, your letter asserts an exemption from "any
application of Title IX and or its rcgulalions." noting thal this "includes bul is not Iimilcd to 34
C.F.R. §§ I06.21-106.61.·· OCR acknowledges thal the University is exempl from Title IX to
the extent that compliance would conflict with the controlling organization's religious tenets.

In order to provide a more specific assurance to the University, OCR would need further
information identifying the provisions of Tille IX that conflict with specific tenets of lhe
religious organization. An inslilution claiming an exemption may refer to a broad scope of
relevant literature in this regard, including biblical scripture, doctrinal statements, catalogs,
statemenls or faith. or other documents reflecting religious tenets. Note, however. that lo avoid
possible constitutional entanglements, OCR does not engage in an inquiry as to whether certain
religious tenets actually conflict with Title IX. (( the University would like u more specific
wrillen assurance from OCR, it may submit a statement of its tenets, or alternatively. submit a
statement of its practices, as based on religious tenets, that conniet with the provisions of Title
IX. Otherwise. we will consider the matter closed.

Note. however. that Title IX docs not require that a rcc1p1ent institution submit a written
statement to OCR in advance of claiming a religious exemption. Religious institutions that have
neither sought nor received prior written assuram;e from OCR may still invoke their exemption
alter OCR receives a Title IX complaint. Primarily, the written claim or "request" for exemption
from an institution is a request for assurance from OCR orexemptions to certain sections of the
regulation.

Please note that this letter should not be construed lo grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution. we are obligated to determine initially whether the allegations
foll within the exemption here recognized.

 I hope this letter fully responds to your request. If you have any further questions, please do not
 hesitate lo contact me.

 Sincerely.


 c9:EiP-
 Acting Assistant Secretary for Civil Rights




EXHIBIT D                                                                                      14
      Case 6:21-cv-00474-AA              Document 50-4          Filed 08/06/21        Page 15 of 17


                                                   ...,
                                                    1111
                                        CEDARYILLE
                                          UNIVERSITY.




 March 13, 2018

 Candice Jackson
 Acting Assistant Secretary for Civil Rights
 U.S. Department of Education
 Office for Civil Rights
 400 Maryland Avenue, SW
 Washington, D.C. 20202-1100

         Re: Cedarville University's Religious Exemption to Title IX

 Dear Acting Assistant Secretary Jackson:

          As the President and highest-ranking administrator of Cedarville University, I am writing
 to inform the Department of Education's Office of Civil Rights that Cedarville University hereby
 claims its religious exemption to Title IX of the Education Amendments of 1972 ("Title IX").
 Cedarville University is a non-profit, faith-based university located in Cedarville, Ohio. Pursuant
 to the University's constitutional rights under the First Amendment and statutory rights under 20
 U.S.C. § 168l(a)(3), the University is entitled to an exemption from all provisions of Title IX
 that are not consistent with its religious tenets.

         Title IX provides that it "shall not apply to [a religious educational institution] if the
 application of this subsection would not be consistent with the religious tenets of such
 organization[.]" 20 U.S.C. § 1681(a)(3). The "shall not apply" language indicates that the
 exemption is automatic and Title IX cannot be enforced in a way that is inconsistent with a
 school's religious tenets.

          On October 6, 2017, U.S. Attorney General Sessions issued a memorandum entitled
 "Federal Law Protections for Religious Liberty." Regarding the Title IX religious exemption
 process, the memorandum explained: "Although eligible institutions may 'claim the exemption'
 in advance by 'submitting in writing to the Assistant Secretary a statement by the highest ranking
 official of the institution, identifying the provisions ... [that] conflict with a specific tenet of the
 religious organization,' 34 C.F.R. § 106.12(b), they are not required to do so to have the benefit
 of it, see 20 U.S.C. § 1681."

         Cedarville University was established in 1887 as an institute for Christian higher
 education. Originally affiliated with the Reformed Presbyterian Church, the Cedarville College
 (subsequently known as "Cedarville University") became a Baptist college of arts and sciences
 by mutual agreement of the Reformed Presbyterian Church and the Baptist Bible Institute of
 Cleveland, Ohio. Cedarville University remains a non-profit educational institution operating in
 accordance with Baptist doctrines of faith.


                 Office of the President• 251 North Main Street• Cedarville,   OH 45314
                                937-766-3200 • cedarville.edu/president




EXHIBIT D                                                                                                   15
      Case 6:21-cv-00474-AA            Document 50-4         Filed 08/06/21       Page 16 of 17




 Candice Jackson
 March 13, 2018
 Page2


         Cedarville University is a Christ-centered learning community equipping students for
 lifelong leadership and service through an education marked by excellence and grounded in
 biblical truth. Cedarville University offers more than 130 programs of study, which cover most
 areas of the liberal arts, the sciences, professional programs, and theological studies. It also
 offers approximately 40 minors, including a five-class Bible minor, which is required for all
 undergraduate students. The University also offers graduate degrees, including ministry graduate
 degrees (M.Min. and M.Div.), all of which require some demonstration of biblical proficiency.
 The University achieves its mission by accomplishing the following objectives or "portrait
 statements" which reflect characteristics of a Cedarville University graduate:

        Glorify God
        The Cedarville graduate exemplifies devotion to the triune God, Christ-like
        character, and faithfulness to the teachings of the Scriptures.

        Think Broadly and Deeply
        The Cedarville graduate evaluates ideas, practices, and theories across disciplines
        within the framework of God's revelation.

        Communicate Effectively
        The Cedarville graduate listens well, and produces and delivers clear, compelling,
        accurate, and truthful messages in a relevant, respectful manner.

        Develop Academicallyand Professionally
        The Cedarville graduate demonstrates competence and integrity in academic and
        professional endeavors.

        Engage for Christ
        The Cedarville graduate lives to further the mission of Christ in the world as an
        active influence in spiritual, moral, professional, and social spheres.

        In order to attend Cedarville, all students must make a written profession of faith in Jesus
Christ. Students are required to attend worship services five days per week in which the Bible is
taught and religious songs are sung together. Students affirm their commitment to the Cedarville
Covenant with the pledge "We will love God and others, live with integrity, and pursue
excellence in all we do." Similarly, all faculty and staff agree to the doctrinal statement and
community covenants annually as a condition of employment.

         Cedarville is governed by an independent, self-perpetuating Board of Trustees operating
under the laws of the state of Ohio. Each member of the Board of Trustees must annually
subscribe to the University's doctrinal statement and standards of conduct. A minimum of 50%
of the Board of Trustees must be considered pastors or in religious vocations. Cedarville
University's Bylaws outlines its doctrinal statement and standards of conduct, which are attached
to this letter.




EXHIBIT D                                                                                              16
       Case 6:21-cv-00474-AA            Document 50-4          Filed 08/06/21       Page 17 of 17




 Candice Jackson
 March 13, 2018
 Page 3

         For all these reasons, Cedarville University is an educational institution that is controlled
 by a religious organization. Therefore, under the plain language of20 U.S.C. § 1681(a)(3),
 Cedarville University is exempt from any application of Title IX or the regulations issued
 thereunder that conflict with the University's religious tenets, which includes, but is not limited
 to, 34 C.F.R. §§ 106.21 - 106.61. Cedarville University believes that Section 1681 and the
 regulations thereunder, as interpreted by the government and some courts, is inconsistent with
 the University's religious tenets. It remains the prerogative of Cedarville University, not the
 government or the courts, to evaluate and decide when and to what extent Title IX conflicts with
 the University's religious tenets. See Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2778
 (2014) ("Repeatedly and in many different contexts, we have warned that courts must not
 presume to determine ... the plausibility of a religious claim"); Thomas v. Review Bd. of Ind.
 Emp 't Sec. Div., 450 U.S. 707, 716 (1981) ("[I]t is not within the judicial function and judicial
 competence to inquire whether" someone who has religious qualms with a law has "correctly
 perceived the commands of [his] ... faith.").

        At the same time, I wish to emphasize that Cedarville University is committed to
providing a safe environment for all students, ensuring that its programs and activities are free
from sexual misconduct, sexual violence, sexual assault, illegal discrimination, bullying, and
harassment. Cedarville University is committed to the biblical principle that all human beings are
created in the image of God, a principle that promotes respect for the bodily integrity of all
persons and the sacredness of human sexuality. Sexual misconduct is antithetical to the standards
and ideals of our community and will not be tolerated. Cedarville recognizes the spiritual, moral,
legal, physical, and psychological seriousness of all sexual misconduct. Cedarville aims to
prevent sexual misconduct through education, training, clear policies, and serious consequences
for violations of these policies. The University will take immediate action to address allegations
of any form of sexual misconduct.

        Thank you for your attention to this matter.

                                                       Respectfully,




                                                       Thomas White, Ph.D., President
                                                       Cedarville University
                                                       251 North Main Street
                                                       Cedarville, Oh"o 45314




EXHIBIT D                                                                                                17
